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                           EXHIBIT A
  PARTIES’ AMENDED JOINT CLAIM
      CONSTRUCTION CHART
             FOR FAMILY 1 PATENTS




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Disputed         Patent, Asserted Claims    Plaintiff’s Proposed Construction           Defendants’ Proposed Construction
Claim Term
“transceiver”    ʼ686 patent, claim 5       “communications device capable of           “communications device capable of
                                            transmitting and receiving data wherein     transmitting and receiving data”
                 ʼ430 patent, claims 1, 2
                                            the transmitter portion and receiver
                 ʼ784 patent, claims 1, 2                                               Intrinsic Evidence:2
                                            portion share at least some common
                                            circuitry”                                  ʼ686 patent, cols. 1:54-2:11, 5:11-32
                 ʼ412 patent, claims 1-4
                                            Intrinsic Evidence:                         ʼ686 patent, claim 5
                 ʼ956 patent, claims 1-4
                                            See, e.g., Ex. B (’686 patent), Fig. 1.1    ʼ430 patent, claims 1, 2
                                                                                        ʼ784 patent, claims 1, 2
                                                                                        ʼ412 patent, claims 1, 3
                                                                                        ʼ956 patent, claims 1, 3

“diagnostic      ʼ686 patent, claim 5       “information relating to a characteristic   “information relating to a characteristic of
information”                                of a communication channel collected        a communication channel or the
                 ʼ956 patent, claims 1-4
                                            and communicated in a diagnostic mode”      communications equipment operating on
                                                                                        that channel”
                                            Intrinsic Evidence:
                                                                                        Intrinsic Evidence:
                                            See, e.g., Ex. B (’686 patent), Abstract,
                                            1:24–31, 3:19 –42, 4:51–54, and 5:18–       ʼ686 patent, Abstract, cols. 1:18-2:67,
                                            20.                                         3:18-20, 3:44-54, 4:1-54, 5:11-32, 5:54-
                                                                                        6:9, 7:11-31
                                                                                        ʼ412 patent, claim 1
                                                                                        ʼ956 patent, claim 1

1
 The ’686, ’430, ’784, ’412, and ’956 share a common disclosure. For brevity, this document cites only to the ’686 patent.
2
 Defendants cite only to the specification of the ʼ686 patent for consistency and ease of reference as the Family 1 patents share a
common specification.


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Disputed           Patent, Asserted Claims    Plaintiff’s Proposed Construction          Defendants’ Proposed Construction
Claim Term
“array             ’686 patent, claim 5       “ordered set of values representative of   “ordered set of values representative of
representing                                  noise in the frequency domain that was     noise in the frequency domain that was
                   ’430 patent, claims 1, 2
frequency                                     received by a transceiver on respective    received by a transceiver on respective
domain                                        subchannels in the absence of a            subchannels in the absence of a
received idle                                 transmission signal on the respective      transmission signal”
channel noise                                 subchannels”                               Intrinsic Evidence:
information”
                                              Intrinsic Evidence:                        ʼ686 patent, cols. 1:34-43, 4:1-49, 5:54-6:9
                                              Ex. B (’686 patent), 1:44–50 and 4:5-50;
                                              Ex. H, p. 25–27.

“message           ’686 patent, claim 5       Not governed by 35 U.S.C. § 112(6).        Governed by 35 U.S.C. § 112(6).
determination                                 “a message determination module is a       Function: “(i) determining a diagnostic
module                                        hardware and/or software component that    message and (ii) in cooperation with the
capable of
                                              assembles the information to be            transceiver, transmitting the diagnostic
determining
                                              transmitted into a message for             message”
and, in                                       transmission by the transceiver”
cooperation                                                                              Structure: Indefinite
with the                                      Intrinsic Evidence:                        Intrinsic Evidence:
transceiver,                                  Ex. B (’686 patent), Fig. 1, 5:60–66,
transmitting a                                                                           ʼ686 patent, cols. 2:35-55, 4:1-5:10, 5:54-
                                              7:20–23, and 8:18–27.
diagnostic                                                                               6:9, 7:7-8:27; Figs. 1-2
message”

“each bit in the   ’686 patent, claim 5       “each bit in the diagnostic message is     Indefinite
diagnostic                                    communicated using a modulation            Intrinsic Evidence:
message is                                    scheme where a DMT signal (or two or
mapped to at                                  more DMT signals) represents only a        ʼ686 patent, cols. 1:34-50, 1:54-2:14, 3:44-
least one DMT                                 single bit of the diagnostic message”      67
signal”                                                                                  Ex. H, pp. 1-2, 10, 15
                                              Intrinsic Evidence:



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Disputed       Patent, Asserted Claims   Plaintiff’s Proposed Construction        Defendants’ Proposed Construction
Claim Term
                                         Ex. B (’686 patent), 3:44–63.

“DMT signal”                             “a DMT signal is the signal resulting    “signal resulting from DMT modulation”
                                         from DMT modulation where the signal     Intrinsic Evidence:
                                         has the duration of a DMT symbol
                                         period”                                  ʼ686 patent, cols. 1:34-50, 1:54-2:14, 3:44-
                                                                                  67
                                         Intrinsic Evidence:
                                                                                  Ex. H, pp. 1-2, 10, 15
                                         Ex. B (’686 patent), 1:34–40 and 3:44–
                                         67.




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Claim Term                    Patent, Claims                            Agreed Construction
“test information”            ’430 patent, claims 1, 2                  “information relating to a characteristic of a
                              ʼ784 patent, claims 1, 2                  communication        channel      or       the
                                                                        communications equipment operating on that
                              ʼ412 patent, claims 1-4                   channel”

“array representing power     ’412 patent, claims 1-4                   “ordered set of values representative of power
level per subchannel                                                    levels of respective subchannels”
                              ’956 patent, claims 1-4
information”

“Reverb signal”               ’412 patent, claims 2, 4                  “signal generated by modulating carriers in a
                                                                        multicarrier system with a known pseudo-
                              ’956 patent, claims 2, 4
                                                                        random sequence to generate a wideband
                                                                        modulated signal”

“Showtime”                    ’784 patent, claims 1, 2                  “the state of the transceiver reached after all
                                                                        initialization and training is completed, in
                                                                        which user data is transmitted or received”

“array representing Signal to ’784 patent, claims 1, 2                  “ordered set of values representative of the
Noise ratio per subchannel                                              signal to noise ratio of respective subchannels
during Showtime                                                         during the state of the transceiver reached after
information”                                                            all initialization and training is completed, in
                                                                        which user data is transmitted or received”

“multicarrier”                ʼ686 patent, claim 5                      “having multiple carrier signals that are
                                                                        combined to produce a transmission signal”
                              ʼ430 patent, claims 1, 2
                              ʼ784 patent, claims 1, 2
                              ʼ412 patent, claims 1, 3
                              ʼ956 patent, claims 1, 3
“subchannel”                  ʼ784 patent, claims 1, 3                  “range within the frequency band of a


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           ʼ412 patent, claims 1, 3                   multicarrier communications channel, wherein
           ʼ956 patent, claims 1, 3                   the range is associated with a single carrier
                                                      signal”




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